53 F.3d 348wNOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Norman EAISE, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 95-3384.
    United States Court of Appeals, Federal Circuit.
    April 26, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    